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12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO

15

16   OPEN SOURCE SECURITY, INC., and            Case No. 3:17-cv-04002-LB
     BRADLEY SPENGLER,
17                                               DECLARATION OF MELODY
                          Plaintiffs,            DRUMMOND HANSEN IN SUPPORT
18                                               OF DEFENDANT BRUCE PERENS’S
            v.                                   MOTION FOR ATTORNEYS FEES;
19                                               PROVIDED IN ACCORDANCE WITH
     BRUCE PERENS, and Does 1-50,                COURT’S ORDER REGARDING
20                                               CHART (ECF NO. 89)
                          Defendants.
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25       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED.

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                                                    DRUMMOND HANSEN DECL. ISO MOTION
                                                   FOR FEES PER ORDER REGARDING CHART
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 1   preparing the exhibit for Mr. Perens’s original Fee Motion (ECF No. 63-4, “Original Exhibit C”).
 2          7.      In order to stay true to the Original Exhibit C while correcting the sorting error,
 3   Corrected Exhibit C did not include additional billing entries for work performed in preparing the
 4   Fee Motion (ECF No. 62) and Fee Motion Reply (ECF No. 84), which became available after
 5   filing of Mr. Perens’s original Fee Motion. For the same reason, Mr. Perens did not change any
 6   hours entries for entries that were written off or written down between the filing of the Fee
 7   Motion and the Fee Motion Reply. Instead, such entries were highlighted to indicate that
 8   additional write-downs or write-offs occurred, and the amounts for such additional write-downs
 9   and write-offs were reflected in Exhibit D to the Fee Motion Reply (ECF No. 84-5), which was
10   intended to capture the calculation of hours and fees requested. Therefore, Corrected Exhibit C
11   and Exhibit 1 (attached) support higher fees awards for the categories of work performed before
12   the filing of the first Fee Motion, while it does not capture all work performed for the Fee Motion
13   and the Fee Motion Reply.
14          8.      Should the Court require additional billing records, Mr. Perens will of course
15   provide such records as requested.
16

17          I declare under penalty of perjury under the laws of the United States that the foregoing is
18   true and correct, and that this declaration was executed this 29th day of May 2018 in San
19   Francisco, California.
20                                                        By: /s/ Melody Drummond Hansen
                                                             Melody Drummond Hansen
21                                                           Of O’Melveny & Myers LLP
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                                                                DRUMMOND HANSEN DECL. ISO MOTION
                                                               FOR FEES PER ORDER REGARDING CHART
                                                      7                             3:17-CV-04002-LB
